                     Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 1 of 18

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                           Southern District of Texas
                                        (State)

 Case number (If known):                                          Chapter 11                                                           Check if this is an
                                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



 1.   Debtor’s name                           AppHarvest Richmond Farm, LLC



 2.   All other names debtor used             Richmond Land Company, LLC
      in the last 8 years
      Include any assumed names,
      trade names, and doing business
      as names




 3.   Debtor’s federal Employer
                                              8      5   ‒    2     4   5   0   6     3     2
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                    Mailing address, if different from principal place
                                                                                                             of business

                                              1415            Speedwell Road                                 500         Appalachian Way
                                              Number          Street                                         Number      Street



                                                                                                             P.O. Box

                                              Richmond                              KY          40475        Morehead                    KY           40507
                                              City                                  State       ZIP Code     City                        State        ZIP Code

                                                                                                             Location of principal assets, if different from
                                                                                                             principal place of business

                                              Madison
                                              County                                                         Number      Street




                                                                                                             City                        State        ZIP Code




 5.   Debtor’s website (URL)                  https://www.appharvest.com




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 1
                      Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 2 of 18

Debtor        AppHarvest Richmond Farm, LLC                                                       Case number (if known)
              Name




 6.   Type of debtor                      Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify:

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                              § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .

                                               1    1      1     4

 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                          Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                                aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                            affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                           recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                            income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                              11 U.S.C. § 1116(1)(B).
      check the second sub-box.                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                                 noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                 less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                                 Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                                 statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                                 § 1116(1)(B).

                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                 creditors, in accordance with 11 U.S.C. § 1126(b).

                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                 Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                 Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                                 for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                 12b-2.
                                             Chapter 12




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 2
                         Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 3 of 18

Debtor          AppHarvest Richmond Farm, LLC                                                     Case number (if known)
                Name



 9.    Were prior bankruptcy cases         No
       filed by or against the debtor
       within the last 8 years?             Yes.     District                             When                            Case number
                                                                                                      MM / DD / YYYY
       If more than 2 cases, attach a
                                                      District                             When                            Case number
       separate list.
                                                                                                      MM / DD / YYYY


 10.   Are any bankruptcy cases             No
       pending or being filed by a
       business partner or an              Yes.     Debtor      S e e   S c h e d u l e          1                        Relationship    Affiliate

       affiliate of the debtor?            District Southern District of Texas                                             When            07/23/2023
                                                                                                                                           MM / DD         / YYYY
       List all cases. If more than 1,
       attach a separate list.                        Case number, if known



 11.   Why is the case filed in this       Check all that apply:
       district?                          Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                          A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.


 12.   Does the debtor own or have           No
       possession of any real                Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                        It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                         What is the hazard?

                                                        It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                        Other



                                                     Where is the property? 1401-1415 Speedwell Rd.
                                                                                 Number           Street


                                                                                 Richmond                                                 KY           40475
                                                                                 City                                                     State ZIP Code


                                                     Is the property insured?

                                                      No
                                                      Yes. Insurance agency    Hortica


                                                                 Contact name    Timothy Noble

                                                                 Phone           (800) 851-7740




               Statistical and administrative information




 Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
DocuSign Envelope ID: FCB4228F-4265-4EA8-A3D3-4D7624608924
                          Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 4 of 18

    Debtor         AppHarvest Richmond Farm, LLC                                                      Case number (if known)
                   Name




      13.   Debtor’s estimation of            Check one:
            available funds                  9Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                              1-49                                1,000-5,000                                   25,001-50,000
      14.   Estimated number of                50-99                               5,001-10,000                                 50,001-100,000
            creditors
                                              9100-199                              10,001-25,000                                More than 100,000
                                               200-999

                                               $0-$50,000                          $1,000,001-$10 million                       $500,000,001-$1 billion
      15.   Estimated assets                   $50,001-$100,000                    $10,000,001-$50 million                      $1,000,000,001-$10 billion
                                               $100,001-$500,000                   $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                               $500,001-$1 million                9$100,000,001-$500 million                     More than $50 billion

                                               $0-$50,000                          $1,000,001-$10 million                       $500,000,001-$1 billion
      16.   Estimated liabilities              $50,001-$100,000                    $10,000,001-$50 million                      $1,000,000,001-$10 billion
                                               $100,001-$500,000                   $50,000,001-$100 million                     $10,000,000,001-$50 billion
                                               $500,001-$1 million                9$100,000,001-$500 million                     More than $50 billion


                   Request for Relief, Declaration, and Signatures


      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                 $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


      17.   Declaration and signature of           The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
            authorized representative of
                                                   petition.
            debtor
                                                   I have been authorized to file this petition on behalf of the debtor.

                                                   I have examined the information in this petition and have a reasonable belief that the information is true and
                                                   correct.


                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on   0 7 / 2 3 / 2 0 2 3
                                                                 MM / DD / YYYY


                                              8                                                                   Gary Broadbent
                                                   Signature of authorized representative of debtor               Printed name


                                                   Title Chief Restructuring Officer




      Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 4
                      Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 5 of 18

Debtor        AppHarvest Richmond Farm, LLC                                                  Case number (if known)
              Name


18. Signature of attorney                /s/ Matthew D. Cavenaugh                                        Date         07/23/2023
                                          Signature of attorney for debtor                                            MM/DD/YYYY


                                          Matthew D. Cavenaugh
                                          Printed name

                                          Jackson Walker LLP
                                          Firm name

                                          1401 McKinney Street, Suite 1900
                                          Number                     Street

                                          Houston                                                                Texas              77010
                                          City                                                                   State                  ZIP Code

                                          (713) 752-4200                                                         mcavenaugh@jw.com
                                          Contact phone                                                                 Email address

                                          24062656                                             Texas
                                          Bar number                                           State




  Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 5
                    Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 6 of 18



Fill in this information to identify the case:

United States Bankruptcy Court for the:


                          Southern District of Texas
                                      (State)

Case number (If known):                                Chapter 11                                   Check if this is an
                                                                                                      amended filing



                                                                    Schedule 1

                      Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

              On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition
      in the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of
      title 11 of the United States Code. The Debtors have moved for joint administration of these cases
      under the case number assigned to the chapter 11 case of AppHarvest Products, LLC.

      AppHarvest, Inc.
      AppHarvest Operations, Inc.
      AppHarvest Farms, LLC
      AppHarvest Morehead Farm, LLC
      AppHarvest Richmond Farm, LLC
      AppHarvest Berea Farm, LLC
      AppHarvest Pulaski Farm, LLC
      AppHarvest Development, LLC
      AppHarvest Technology, Inc.
      AppHarvest Products, LLC
      AppHarvest Foundation, LLC
      Rowan County Development, LLC
             Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 7 of 18




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS


    In re:                                                     Chapter 11

    APPHARVEST RICHMOND FARM, LLC,                             Case No. 23-_____ (___)

                           Debtor.


                              LIST OF EQUITY SECURITY HOLDERS 1

         Pursuant to rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following is
a list of holders of equity securities of the above-captioned debtor.

         Equity Holder                  Address of Equity Holder               Percentage of Equity Held
    AppHarvest Operations, Inc.        401 W. Main Street, Suite 321
                                                                                            100%
                                          Lexington, KY 40507




1
 This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules of
Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as of the date of
commencement of the chapter 11 case.
          Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 8 of 18




                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS


 In re:                                             Chapter 11

 APPHARVEST RICHMOND FARM, LLC,                     Case No. 23-_____ (___)

                       Debtor.


                         CORPORATE OWNERSHIP STATEMENT

       Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

                 Shareholder                      Approximate Percentage of Shares Held
           AppHarvest Operations, Inc.                           100%
                          Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 9 of 18


      Fill in this information to identify the case:

      Debtor name AppHarvest Richmond Farm, LLC

      United States Bankruptcy Court for the: Southern District of Texas______________

      Case number (If known):                                                                                                                   Check if this is
                                                                                                                                                    an amended
                                                                                                                                                    filing



Official Form 204
    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
    30 Largest Unsecured Claims and Are Not Insiders                         12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do
    not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless
    the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.


     Name of creditor and complete             Name, telephone number, and        Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       email address of creditor          (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                  professional          unliquidated,   total claim amount and deduction for value of
                                                                                  services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                  government
                                                                                  contracts)
                                                                                                                        Total claim, if    Deduction for       Unsecured
                                                                                                                        partially          value of            claim
                                                                                                                        secured            collateral or
                                                                                                                                           setoff
     Dalsem Greenhouse Technology BV Marcel Fransen                               Trade Payable         Disputed                                             $14,844,877.34
1    Woudseweg 9                     mfransen@dalsem.nl
     2635 CE Den Hoorn, Netherlands


     Walker Construction & Materials, LLC Melissa Martin                Trade Payable                   N/A                                                  $1,145,340.06
2    200 Apperson Heights, Suite 100      859-499-2400
     Mount Sterling, KY 40353             mmartin@walkerconstruction.co
                                          m

     C&G AG LLC                              Nineth Rosales                       Trade Payable         N/A                                                  $931,950.88
3    350 W Venice Ave, Unit 1170             941-803-0335
     Venice, FL 34285                        nineth@cgagriculture.com


     Metrotek Electrical Services            Teresa Sousa                         Trade Payable         N/A                                                  $633,097.10
4    Company                                 610-365-2390 (430)
     2200 Northwood Avenue, Suite 2          tsousa@metroelectrical.com
     Easton, PA 18045

     Nixon Power Services                    Kimberly Ruehl                       Trade Payable         N/A                                                  $532,250.00
5    155 Franklin Rd                         615-309-5851
     Brentwood ,TN 37027                     credit@nixonpower.com


     Plant Products                          Sarah Lee                      Trade Payable               N/A                                                  $452,395.53
6    8468 Ronda Drive, 3rd Floor             248-661-4378
     Canton, MI 48187                        michigan.orders@plantproducts.
                                             com

     Ontario Plants Propagation Ltd.         Rudi Ambacher                        Trade Payable         N/A                                                  $446,838.85
7    38024 John Wise Line                    519-637-2119
     St. Thomas, N5P 3T2                     accounting@ontarioplants.com


     Roelands Plant Farms                    Sarah Miner                          Trade Payable         N/A                                                  $404,297.52
8    5894 Douglas Line                       519-312-6919
     Lambton Shores, ON N0N1J5               sarahm@roelandsplant.ca




    Official Form 204       Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                               page 1
                         Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 10 of 18

                                                                                                  Case number (if known)
    Debtor       AppHarvest Richmond Farm, LLC
                  Name




     Name of creditor and complete          Name, telephone number, and     Nature of the claim     Indicate if      Amount of unsecured claim
     mailing address, including zip code    email address of creditor       (for example, trade     claim is         If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,      contingent,      claim amount. If claim is partially secured, fill in
                                                                            professional            unliquidated,    total claim amount and deduction for value of
                                                                            services, and           or disputed      collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                     Total claim, if    Deduction for       Unsecured
                                                                                                                     partially          value of            claim
                                                                                                                     secured            collateral or
                                                                                                                                        setoff

     Bayer Crop Science                    402-723-7400                    Trade Payable           N/A                                                    $398,047.42
9    130-160 Quarry Park Blvd SE           askus@bayercropscience.ca
     Calgary T2C 3G3


   Oro Valley AG Services LLC              Sergio Rodarte                 Trade Payable            N/A                                                    $370,732.00
10 2944 W Torres Lane                      520-729-8295
   Bonita, AZ 85643                        sergio.rodarte@orovalleyag.com


   Industrial Field Maintenance LLC        Danielle Hunt                   Trade Payable           N/A                                                    $366,954.50
11 3331 Elizaville Rd                      866-937-3115
   Ewing, KY 41039                         dhuntifm@outlook.com;
                                           jclingerifm@outlook.com

   Clayco, Inc.                         Rebecca Setzer-Smith               Trade Payable           N/A                                                    $321,506.90
12 2199 Innerbelt Business Center Drive 314-592-5603
   Saint Louis, MO 63114                setzersmithr@claycorp.com


   Stonhard                                Ma Schaffer                     Trade Payable           N/A                                                    $310,000.00
13 7 Esterbrook Lane                       856-779-7500
   Cherry Hill, NJ 08003                   ma.schaffer@stonhard.com


   Pratt (Jet Corr), Inc.                  Teenia Gast                     Trade Payable           N/A                                                    $286,936.73
14 3155 State Road 49, PO Box 5002         219-307-4466
   Valparaiso, IN 46383                    tgast@prattindustries.com


   Ilapak Inc                              Michele Tantala                 Trade Payable           N/A                                                    $271,229.40
15 105 Pheasant Run                        215-579-2900
   George School, PA 18940                 michele.tantala@ima.it


   Koppert                                  810-632-8750                   Trade Payable           N/A                                                    $196,374.94
16 1502 N. Old US-23                       dmackenzie@koppert.com
   Howell, MI 48843


   Royal Brinkman International            Tim van Steekelenberg          Trade Payable            N/A                                                    $191,294.64
17 P.O. Box 2, 2690 AA                     +31174446243
   Wouterswen, Netherlands                 tim.steekelenburg@royalbrinkma
                                           n.com

   Davis & Plomin Mechanical               Sam Plomin                  Trade Payable               N/A                                                    $187,495.00
18 PO Box 55350, Suite 1400                859-253-3792
   Lexington, KY 40555                     samplomin@davisandplomin.co
                                           m

   Bas van Buuren BV                       Jaap van Waardenburg            Trade Payable           N/A                                                    $172,959.38
19 Coldenhovelaan 10,                      jvanwaardenburg@bvb-
   De Lier, Netherlands 2678 PS            substrates.nl


   Landsberg Orora                       Virginia Salinas            Trade Payable                 N/A                                                    $168,470.48
20 1900 West University Drive; 374 Mills 480-333-6724
   Branch Rd                             bankdeposits@ororagroup.com
   Tempe, AZ 85281




    Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                             page 2
                          Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 11 of 18

 Debtor          AppHarvest Richmond Farm, LLC
                 Name

 Case number (if known)


   Name of creditor and complete            Name, telephone number, and     Nature of the claim   Indicate if     Amount of unsecured claim
   mailing address, including zip code      email address of creditor       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                            contact                         debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional          unliquidated,   total claim amount and deduction for value of
                                                                            services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                  Total claim, if    Deduction for       Unsecured
                                                                                                                  partially          value of            claim
                                                                                                                  secured            collateral or
                                                                                                                                     setoff

   Belmark Inc                            Tami Taylor                      Trade Payable          N/A                                                  $157,811.63
21 600 Heritage Rd                        920-336-2848
   De Pere, WI 54115                      tamit@belmark.com


   Rijk Zwaan                             Harry Burman                     Trade Payable          N/A                                                  $149,460.96
22 701 La Guardia Street                  831-455-3000
   Alisal, CA 93905                       h.burman@rijkzwaan.com


   Belt Power, LLC                        Tina Macon                       Trade Payable          N/A                                                  $144,764.12
23 2197 Canton Rd Ste 208                 704-927-7776
   Marietta, GA 30066                     remitto@beltpower.com;
                                          lleicht@beltpower.com;
                                          sales.midwest@beltpower.com
   UniFirst Corporation                   Karen Evans                      Trade Payable          N/A                                                  $139,736.69
24 715 Miles Point Way                    859-294-0141
   Lexington, KY 40510                    karen_evans@unifirst.com


   Growers First Inc                      Lisa Shuttleworth                Trade Payable          N/A                                                  $138,773.67
25 2339 Queen Street East                 416-727-4513
   Toronto, Canada M4E 1G7                lisa@accoladeinc.ca


   Broadridge ICS                         Krista Lambert                Trade Payable             N/A                                                  $136,167.17
26 PO BOX 416423                          631-254-4499
   Boston MA, 02241                       Krista.Lambert@broadridge.com


   Hortica Florist Mutual                 Karen Shaw                       Trade Payable          N/A                                                  $117,254.73
27 PO Box 8017                            800-851-7740
   Stevens Point, WI 54482                karen.shaw@hortica.com


   Lencioni Farm Services                 Yolanda Lencioni               Trade Payable            N/A                                                  $107,259.63
28 588 E Lerdo Hwy                        661-348-0444
   Bakersfield, CA 93263                  lencionifarmservices@gmail.com


   QSI, LLC                               Krista Mitchell                  Trade Payable          N/A                                                  $104,328.38
29 412 Georgia Avenue, Suite 300          423-702-3257
   Chattanooga, TN 37403                  AR@VincitGroup.com


   Progressive Property Solutions, LLC Marcus Sell                         Trade Payable          N/A                                                  $101,991.75
30 dba GuardLogic                      859-229-2579
   710 E Main St                       info@guardlogic.com
   Lexington KY 40502




 Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                          page 3
DocuSign Envelope ID: FCB4228F-4265-4EA8-A3D3-4D7624608924
                         Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 12 of 18



             Fill in this information to identify the case and this filing:

           Debtor Name                                                         AppHarvest Richmond Farm, LLC

           United States Bankruptcy Court for the:                             Southern District of Texas
                                                                                          (State)
           Case number (If known):

        Official Form 202
        Declaration Under Penalty of Perjury for Non-Individual Debtors                                         12/15

        An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
        for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments
        of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date.
        Bankruptcy Rules 1008 and 9011.

        WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
        connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
        and 3571.


                     Declaration and signature

                  I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
                  partnership; or another individual serving as a representative of the debtor in this case.

                  I have examined the information in the documents checked below and I have a reasonable belief that the information is true
                  and correct:

              ‫܆‬     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

              ‫܆‬     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              ‫܆‬     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              ‫܆‬     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              ‫܆‬     Schedule H: Codebtors (Official Form 206H)

              ‫܆‬     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              ‫܆‬     Amended Schedule

              ‫܈‬     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form
                    204)

              ‫܈‬     Other document(s) that requires a declaration List of Equity Security Holders and Corporate Ownership Statement

        I declare under penalty of perjury that the foregoing is true and correct.

             Executed on                      07/23/2023
                                              MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                        Gary Broadbent
                                                                                        Printed name

                                                                                        Chief Restructuring Officer
                                                                                        Position or relationship to debtor

        Official Form 202                        Declaration Under Penalty of Perjury for Non-Individual Debtors
        Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 13 of 18




            OMNIBUS RESOLUTIONS OF THE BOARDS OF DIRECTORS
            OF APPHARVEST, INC. AND CERTAIN OF ITS SUBSIDIARIES

                                           July 23, 2023

               WHEREAS, each of the entities listed on Exhibit A hereof (collectively, the
“Company”) is a Delaware corporation or a Delaware limited liability company (each such limited
liability company, the “Company LLCs”), as applicable;

               WHEREAS, pursuant to the Delaware General Corporation Law (“DGCL”), the
Delaware Limited Liability Company Act (“LLCA”), and each of the Company’s Amended and
Restated Bylaws (the “Bylaws”) or Limited Liability Company Agreements (the “LLC
Agreements”, and together with the Bylaws, the “Operating Documents”), as applicable, the
Company’s boards of directors and/or members, as applicable (each, a “Board” and collectively,
the “Boards”), are authorized to consent to, adopt and approve the following resolutions and each
and every action effected thereby;

                WHEREAS, the Boards have considered certain materials presented by, or on
behalf of, the Company’s management (“Management”) and financial and legal advisors
(collectively, the “Advisors”), including, but not limited to, materials regarding the liabilities,
obligations, and liquidity of the Company, the strategic alternatives available to the Company, and
the impact of the foregoing on the Company’s business;

               WHEREAS, the Boards have reviewed and considered presentations by
Management and the Advisors of the Company regarding the advantages and disadvantages of
filing voluntary petitions for relief (the “Bankruptcy Petitions”) pursuant to chapter 11 of title 11
of the United States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”);

                WHEREAS, the Company desires to negotiate, execute, deliver, and perform
under a debtor-in-possession financing facility by and among the Company, on one hand, and
CEFF II AppHarvest Holdings, LLC (“Equilibrium”), on the other hand, (the “DIP Facility”) and
enter into all agreements, instruments, certificates, pledges, applications, supplements, reports,
notices and documents constituting exhibits or schedules to or that may be required, necessary,
appropriate, desirable or advisable to be executed or delivered pursuant to the DIP Facility (the
“DIP Facility Documents”) to consummate the transaction and one or more borrowings
contemplated thereby (the “DIP Loans”); and

                WHEREAS, the Boards have determined, in the judgment of the Boards, that the
following resolutions are advisable and in the best interests of the Company, its interest holders,
its subsidiaries, its creditors, and other parties in interest.

1.     DIP Facility

               NOW, THEREFORE, BE IT RESOLVED that the Company be, and hereby is,
authorized, directed, and empowered to enter into the DIP Facility Documents, on terms and
conditions substantially similar to those set forth in the form of DIP Facility Documents previously
provided and/or described to the Board, and to perform all of its obligations thereunder, including
the incurrence of the indebtedness thereunder, borrowing and repaying DIP Loans, the guaranty
        Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 14 of 18




by the Company of the obligations thereunder and the grant of security interests in and liens upon
certain assets of the Company now or hereafter owned as contemplated by DIP Facility Documents
in favor of Equilibrium;

                RESOLVED FURTHER, that (i) the form, terms and provisions of the
DIP Facility Documents, (ii) the execution, delivery and performance thereof, and (iii) the
consummation of the transactions related thereto is hereby authorized and approved in all respects,
and each of the Authorized Persons (as defined below), any of whom may act without any of the
others, be, and each of them hereby is, authorized, directed and empowered, in the name and on
behalf of the Company, to enter into, execute, deliver and perform under, the DIP Facility
Documents and any amendments or modifications thereto, with such changes, modifications,
additions, deletions and amendments thereto as any Authorized Persons in his or her sole discretion
shall deem required, necessary, appropriate, desirable or advisable, the approval of which shall be
conclusively established by the execution and delivery thereof;

                RESOLVED FURTHER, that in order to carry out fully the intent and effectuate
the purposes of the foregoing resolutions, each of the Authorized Persons be, and each of them
hereby is, authorized and empowered in the name and on behalf of the Company to take or cause
to be taken all such further action including, without limitation, to arrange for, enter into or grant
amendments and modifications to and waivers of the DIP Facility Documents, and to arrange for
and enter into supplemental agreements, instruments, certificates, joinders, consents, assignments,
notices, financing statements and other documents, relating to the DIP Facility contemplated by
the DIP Facility Documents, and to execute and deliver all such further amendments (including
any incremental amendments and upsizes), modifications, waivers, supplemental agreements,
instruments, notes, or any other financing documents, as may be called for under or in connection
with the DIP Facility Documents, that may be determined by such Authorized Persons to be
necessary or desirable, containing such terms and conditions and other provisions consistent with
the DIP Facility Documents, in the name and on behalf of the Company, and to pay all such
indemnities, fees and expenses, which shall in his or her judgment be deemed necessary, proper or
advisable in order to perform the Company’s obligations under or in connection with the DIP
Facility Documents and the transactions contemplated thereby; and

               FURTHER RESOLVED, that all actions taken by any of the Authorized Persons
of the Company prior to the date of this consent, which are within the authority conferred hereby
are hereby in all respects authorized, ratified, confirmed and approved.

2.     Voluntary Petitions for Relief under Applicable Bankruptcy Law and Seeking
       Necessary Relief

               FURTHER RESOLVED, that the members of the Boards have considered their
fiduciary duties under applicable law in exercising their powers and discharging their duties, to act
honestly and in good faith with a view to the best interests of the Company as a whole, to exercise
the care, diligence, and skill that a reasonably prudent person would exercise in comparable
circumstances, and, as applicable, with consideration to the Company’s public benefit purpose;

                FURTHER RESOLVED, that in the judgment of the Boards, it is desirable and in
the best interests of the Company, their interest holders, subsidiaries, creditors, and other parties
        Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 15 of 18




in interest, that the Company shall be, and hereby is, in all respects authorized to file, or cause to
be filed, the Bankruptcy Petitions under the provisions of chapter 11 of the Bankruptcy Code
(the “Restructuring Matters”) in the United States Bankruptcy Court for the Southern District of
Texas (the “Bankruptcy Court”) for the Company; and, in accordance with the requirements of
the Company’s governing documents and applicable law, hereby consents to, authorizes, and
approves, the filing of the Bankruptcy Petitions;

                 FURTHER RESOLVED, that any director or duly appointed officer of the
Company, each acting individually and with full power of substitution (together with any persons
to whom such persons delegate certain responsibilities, collectively, the “Authorized Persons”) be,
and hereby is, authorized to execute and file on behalf of the Company all petitions, schedules,
lists, and other motions, papers, or documents, and to take any and all action that such Authorized
Person deems necessary or proper to obtain such relief, including, but not limited to, any action
necessary or proper to maintain the ordinary course operations of the Company and/or obtain
additional financing in accordance with the Bankruptcy Code.

3.     Entry Into Restructuring Support Agreement

                 FURTHER RESOLVED, that in connection with the Bankruptcy Petitions, it is
in the best interest of the Company to enter into a Restructuring Support Agreement
(the “Restructuring Support Agreement”) on terms and conditions substantially similar to those
set forth in the form of Restructuring Support Agreement previously provided and/or described to
the Board;

                FURTHER RESOLVED, that (a) the forms, terms and provisions of the
Restructuring Support Agreement, and all the exhibits annexed thereto, (b) the execution, delivery,
and performance thereof, and (c) the consummation of the transactions contemplated thereunder
by the Company are hereby authorized, approved, and declared advisable and in the best interest
of the Company, with such changes therein and additions thereto as any Authorized Person of the
Company executing the same may, in such Authorized Person’s discretion, deem necessary or
appropriate, it being acknowledged that the execution of the Restructuring Support Agreement and
such other documents, agreements, instructions and certificates as may be required or
contemplated by the Restructuring Support Agreement, as applicable, shall be conclusive evidence
of the approval thereof;

                FURTHER RESOLVED, that any Authorized Person, in each case, acting singly
or jointly, be, and each hereby is, authorized, empowered, and directed, with full power of
delegation, in the name and on behalf of the applicable Company, to cause the Company to enter
into, execute, deliver, certify, file and/or record, and perform the obligations arising under, the
Restructuring Support Agreement, substantially in the form previously presented to each Board,
together with such other documents, agreements, instruments, and certificates as may be required
by the Restructuring Support Agreement; and

                FURTHER RESOLVED, that any Authorized Person, in each case, acting singly
or jointly, be, and each hereby is, authorized, empowered, and directed, with full power of
delegation, in the name and on behalf of the Company, to execute and deliver any amendments,
supplements, modifications, renewals, replacements, consolidations, substitutions, and extensions
        Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 16 of 18




of the Restructuring Support Agreement, and/or any of the related documents which shall, in such
Authorized Person’s judgment, be necessary, proper or advisable.

4.     Retention of Professionals

                 FURTHER RESOLVED, that each of the Authorized Persons, acting individually
and with full power of substitution, be, and hereby is, authorized, empowered and directed to
employ the following professionals on behalf of the Company: (i) the law firm of Sidley Austin
LLP, as general bankruptcy counsel; (ii) Jackson Walker LLP, as local bankruptcy counsel;
(iii) the financial advisory firm of Triple P RTS, LLC; (iv) the investment banking firm of Jefferies
LLC; (v) Stretto, Inc., as noticing and claims agent; and (v) any other legal counsel, accountants,
financial advisors, restructuring advisors, or other professionals such Authorized Person deems
necessary, appropriate, or advisable; each to represent and assist the Company in carrying out its
duties and responsibilities and exercising its rights under the Bankruptcy Code and any applicable
law (including, but not limited to, the law firms filing any pleadings or responses) and to take any
and all actions to advance the rights and obligations of the Company, including filing any motions,
objections, replies, applications, or pleadings; and in connection therewith, each of the Authorized
Persons be, and hereby is authorized, empowered, and directed, in accordance with the terms and
conditions hereof, to execute appropriate retention agreements, pay appropriate retainers, and to
cause to be filed appropriate applications for authority to retain such services.

5.     Further Actions and Prior Acts

              FURTHER RESOLVED, that the applicable Boards of the sole members
(the “Members”) of each of the Company LLCs hereby approve and agree on behalf of each of
such Members to amend the applicable LLC Agreements with respect to each Company LLC by
adding a new section 19(c) to each such LLC Agreement, which shall state as follows:

               “The bankruptcy of any Member will not cause such Member to
               cease to be a member of the Company and upon the occurrence of
               such an event, the business of the Company shall continue without
               dissolution.”

                FURTHER RESOLVED, that in addition to the specific authorizations heretofore
conferred upon the Authorized Persons, the Authorized Persons, either individually or as otherwise
required by the Company’s governing documents and applicable law, be, and each of them hereby
is, authorized to execute (under hand or under the common seal of the Company if appropriate),
acknowledge, deliver, and file any and all agreements, certificates, instruments, powers of
attorney, letters, forms, transfer, deeds and other documents on behalf of the Company relating to
the Restructuring Matters;

               FURTHER RESOLVED, that each of the Authorized Persons, each acting
individually and with full power of substitution be, and hereby is, authorized, empowered, and
directed to execute and file all petitions, schedules, motions, lists, applications, pleadings, and
other papers, and to perform such further actions and execute such further documentation that such
Authorized Person in their absolute discretion deems necessary, appropriate, or desirable in
accordance with these resolutions;
        Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 17 of 18




                FURTHER RESOLVED, that, in addition to the specific authorizations
heretofore conferred upon the Authorized Persons, the Authorized Persons, either individually or
as otherwise required by the Company’s governing documents and applicable law, be, and each of
them hereby is, authorized to take any and all such other and further actions, and to do all such
other deeds and other things as the Company may lawfully do, in accordance with its governing
documents and applicable law, including but not limited to, the negotiation, finalization, execution,
acknowledgement, delivery, and filing of any and all agreements, certificates, instruments, powers
of attorney, letters, forms, transfer, deeds, and other documents on behalf of the Company, and
the payment of all expenses, including but not limited to filing fees, in each case as such
Authorized Person’s or Authorized Persons’ may, in his/her/its/their absolute and unfettered
discretion approve, deem or determine necessary, appropriate, advisable, or desirable in order to
fully carry out the intent and accomplish the purposes of the resolutions adopted herein; such
approval, deeming, or determination to be conclusively evidenced by said individual taking such
action or the execution thereof;

               FURTHER RESOLVED, that the Boards have received sufficient notice of the
actions and transactions relating to the matters contemplated by the foregoing resolutions, as may
be required by the organizational documents of the Company, or hereby waive any right to have
received such notice; and

                FURTHER RESOLVED, that all acts, actions, and transactions relating to the
matters contemplated by the foregoing resolutions done in the name of and on behalf of the
Company, which acts would have been approved by the foregoing resolutions except that such acts
were taken before the adoption of these resolutions, are hereby in all respects approved, confirmed
and ratified as the true acts and deeds of the Company with the same force and effect as if each
such act, transaction, agreement, or certificate had been specifically authorized in advance by
resolution of the Boards.
          Case 23-90754 Document 1 Filed in TXSB on 07/23/23 Page 18 of 18




                                     Exhibit A

AppHarvest, Inc.
AppHarvest Operations, Inc.
AppHarvest Farms, LLC
AppHarvest Morehead Farm, LLC
AppHarvest Richmond Farm, LLC
AppHarvest Berea Farm, LLC
AppHarvest Pulaski Farm, LLC
AppHarvest Development, LLC
AppHarvest Technology, Inc.
AppHarvest Products, LLC
AppHarvest Foundation, LLC
Rowan County Development, LLC
